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                             UNITED STATES DISTRICT COURT                                   5/11/2022
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                 LYNCHBURG DIVISION

 CROWN PACKAGING TECHNOLOGY, INC.
 AND CARNAUDMETALBOX
                                                        CASE NO. 6:18-CV-00070
 ENGINEERING LTD.,
                     Plaintiffs,
        v.
 BELVAC PRODUCTION MACHINERY,
 INC.,
                     Defendant.

                           EIGHTH AMENDED SCHEDULING ORDER

           This matter is before the Court on Defendant Belvac Production Machinery, Inc.’s

  Unopposed Motion to Amend the Seventh Amended Scheduling Order (Dkt. 155). Dkt. 221. For

  good cause shown, the Eighth Amended Scheduling Order is hereby ADOPTED, as set forth

  below:

           The deadline for filing oppositions to any motions in limine, which oppositions are

  currently due on or before June 3, 2022 is enlarged from June 3, 2022 to June 10, 2022.

           It is so ORDERED.

                                                        Entered: May 10, 2022


                                                        Robert S. Ballou
                                                        Robert S. Ballou
                                                        United States Magistrate Judge
